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10
                                UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
                                   SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,         )               No. CR-06-0316 MHP
                                       )
15         Plaintiff,                  )               ORDER REGARDING DETENTION
                                       )               PURSUANT TO 18 U.S.C. § 3142
16      v.                             )
                                       )
17   RAFAEL RAMIREZ,                   )
                                       )
18         Defendant,                  )
     _________________________________ )
19
20
21          On May 2, 2006, the Grand Jury for the Northern District of California returned an
22   indictment charging defendant Rafael RAMIREZ and eighteen others with conspiracy to
23   distribute methamphetamine and cocaine in violation of Title 21 U.S.C. § 846. The
24   indictment also charges RAMIREZ with nine substantive counts of distribution of
25   methamphetamine in violation of Title 21 U.S.C. § 841(a)(1). The conspiracy count and
26   seven of the substantive counts carry a minimum mandatory sentence of ten years to life
27   in prison. Therefore, there is a rebuttable presumption that he is both a flight risk and a
28   danger. See 18 U.S.C. §3142 (e).

     DETENTION MEMORANDUM                                     1
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1           On May 10, 2006, the Court conducted a detention hearing in the above-captioned
2    case for defendant RAFAEL RAMIREZ. During the hearing, the government proffered
3    that RAMIREZ is involved in a Mexican drug trafficking organization based in
4    Guadalajara, Mexico, which is headed by Anthony Quintana. The government proffered
5    that its year-long investigation revealed that in that role, RAMIREZ supervised the
6    management, sale, and delivery of hundreds of pounds of methamphetamine and
7    hundreds of kilograms of cocaine as well as the collection of millions of dollars in
8    proceeds from drug trafficking. The government also proffered that because RAMIREZ
9    has a prior felony conviction, his minimum mandatory sentence in this case is doubled to
10   twenty years to life imprisonment. According to the proffer, the drug weight of the
11   narcotics he is alleged to have distributed is almost twenty times higher than the drug
12   weight necessary to trigger a level 38. The lengthy sentence he faces if convicted gives
13   him an incentive to flee.
14       The evidence of RAMIREZ’s border crossings to date provide evidence that he is a
15   flight risk. Between June 29, 2005 and March 12, 2006, the United States Customs and
16   Immigration Office documented at least five (5) border crossings for RAMIREZ.1 At the
17   hearing, the government introduced transcripts from court authorized wiretaps evidencing
18   that RAMIREZ orchestrates his travel to Mexico in a surreptitious manner. On
19   November 12, 2005, RAMIREZ was intercepted planning a meeting with co-defendant
20   ARAIZA. RAMIREZ drove from San Francisco to San Diego, California to meet
21   ARAIZA. RAMIREZ was intercepted explaining to ARAIZA that he would cross into
22   Mexico on foot. Approximately one half hour later, RAMIREZ contacted ARAIZA to tell
23   him he had crossed over and was on the other side now. Law enforcement border
24   crossing records show no documentation of the fact that RAMIREZ had either exited the
25   United States or returned.
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             RAMIREZ’s passport also reflects extensive international travel to locations in Mexico,
28   England, Brazil, India, and China.

     DETENTION MEMORANDUM                                      2
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 1          More recently, on March 9, 2006, Ramirez further demonstrated his sophisticated
 2   understanding of the government’s ability to monitor border crossings and his
 3   determination not to be deemed a “flight risk” upon apprehension. In a conversation with
 4   Dan Morgan, RAMIREZ explained his often roundabout travel to Mexico. According to
 5   Ramirez, because the government monitors air travel he does not travel to Mexico
 6   directly. Rather he flies to a border city within the United States and simply walks back
 7   and forth across the border. He does so, by his own admission, in order to avoid being
 8   determined to be a “flight risk” if ever apprehended. He noted that the inconvenience of
 9   indirect travel is the “price of doing business.”
10              Further, RAMIREZ has significant connections, family and financial resources in
11   Mexico. First, interceptions of RAMIREZ and Quintana reveal that RAMIREZ is at ease
12   with Quintana and has visited Quintana’s home on trips to Mexico.2 Second, RAMIREZ
13   is fluent in Spanish and has family in both Mexico and France. Third, RAMIREZ
14   possesses the financial ability to flee. During the course of the investigation, agents
15   seized from RAMIREZ and his co-defendants narcotics constituting over two million
16   doses of methamphetamine with a wholesale value of approximately $3.7 million. The
17   drug ledger of RAMIREZ, seized at the time of his arrest, indicate that the amount of
18   drugs seized was just a small portion of the narcotics he was responsible for distributing.
19   According to the proffer of the government, RAMIREZ routinely and repetitively
20   acquired $250,000 worth of methamphetamine. The organization also dealt in large
21   quantities of cocaine as evidenced by a 50 kilogram seizure. That money represents
22   potential profits available to RAMIREZ that he could use to flee and/or compensate
23   sureties for any value lost if RAMIREZ failed to appear. The government proffers that
24
25
            2
           The government proffered that Quintana is a U.S. citizen who relocated to Mexico
26 in the face of an outstanding U.S. warrant. Despite his fugitive status, he continues to
27 direct drug shipments from Mexico, and the government suggests that RAMIREZ could
   potentially take up operations in Mexico and continue to direct shipments into the United
28 States.

     DETENTION MEMORANDUM                                     3
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1    the organization appears to have been a lucrative business dealing, primarily, in cash: a
2    co-defendant known to transport narcotics back and forth from Mexico for the
3    organization was stopped and the vehicle was over $1,300,000 in cash. In addition, it
4    appears that RAMIREZ lacks a legitimate source of income, which also contributes to the
5    defendant’s risk of flight. On May 3, 2006, when the defendant’s wife was interviewed,
6    she confirmed that her husband has relatives in Guadalajara, Mexico. The Court notes
7    from the pre-trial services report that agents also seized approximately $50,000 from
8    RAMIREZ’s residence, but that during the interview, the defendant’s wife stated that she
9    had no idea where the money had come from.
10            According to the proffer of the defendant, he acknowledges that his family has
11   substantial wealth in Mexico and is a well established family there. Unusually, the
12   defendant proffered that if he were to flee the government could extradict him. The Court
13   does not find that argument persuasive. The Court acknowledges that the family has
14   proposed substantial sureties and has considered that the parents’ home and, apparently,
15   an apartment building could be used to secure the defendant’s release. However, even a
16   substantial secured bond does not offset the significant risk of flight in light of
17   RAMIREZ’s substantial incentive to flee and his connections and resources in Mexico.
18            Even though RAMIREZ is no longer in possession of his passport, according to
19   the State Department, a person does not need a passport to either drive or fly from the
20   United States to Mexico; he merely needs some form of photo identification. In any
21   event, the border is porous, as Defendant’s own wiretapped conversations indicated. It is
22   likely that RAMIREZ could flee to Mexico and that his wife and children could join him
23   there.
24            Similarly, the criminal history of RAMIREZ demonstrates that he is unlikely to
25   abide by any conditions of release that the court might set. He has a prior drug felony
26   which increases his exposure in this case to a minimum mandatory twenty years to life
27   imprisonment. Of particular note, in a proceeding where the Court must rely, in part, on
28   the defendant’s assurance that he will remain in the jurisdiction for trial is the fact that

     DETENTION MEMORANDUM                                       4
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1    RAMIREZ has been convicted of the felony of perjury. His criminal record also
2    demonstrates a disrespect for the rule of law and for leniency shown to him in the past.
3    While on probation for a conviction for theft of credit card data in 1991, he committed the
4    offense of perjury. While on probation for the offense of receiving stolen property, he
5    committed the offense of Transportation and Sale of Narcotics. His criminal history is
6    both a strong indicator of the defendant’s inability and/or unwillingness to live by
7    conditions set by the court, and an equally strong incentive for the defendant to flee.
8           Although the strength of the evidence is the least important factor in determining
9    whether there are conditions of release which will assure the appearance of the defendant
10   in court, the court notes that the evidence, as proffered by the government, is strong in
11   this case.
12          Based on the factors above, the government has shown by a preponderance of the
13   evidence that RAMIREZ presents a serious risk of flight, and by clear and convincing
14   evidence that RAMIREZ would pose a danger to the community if he were released in
15   any manner. THEREFORE, the Court ORDERS that he be detained.
16      IT IS FURTHER ORDERED THAT, the defendant is committed to the custody of the
17   Attorney General for confinement in a corrections facility separate, to the extent practicable,
18   from persons awaiting or serving sentences or being held in custody pending appeal; and
19      IT IS FURTHER ORDERED THAT the defendant be afforded reasonable opportunity for
20   private consultation with counsel; and
21      IT IS FURTHER ORDERED THAT on ORDER of a court of the United States or on request
22   of an attorney for the Government, the person in charge of the corrections facility in which the
23   defendant is confined, deliver the defendant to a United States Marshal for the purpose of an
24   appearance in connection with a court proceeding.
25
26   DATED: May 30, 2006
27                                                 ____________________________________
                                                   HON. ELIZABETH D. LAPORTE
28                                                 UNITED STATES MAGISTRATE JUDGE

     DETENTION MEMORANDUM                                         5
